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IN 'I`HE UNITED STATES DISTRICT COURT
FOR 'I`HE WESTERN DIVISION OF TENNESSEE
WESTERN DIVISION

Fu.Ec) et .L,Ui<.“;;,,. ir).e.

 

CABOODLES COSMETICS, LIMITED
PARTNERSHIP, a Nevada limited
partnership, and HHS, LIMITED
PARTNERSHIP, a Nevada limited
partnership,

Plaintiffs,
v.

CABOODLES, LLC, a Delaware limited
company, and GL[MPSO, LLC,

Defendants.
CABOODLES, LLC, a Delaware limited
company,

Counter-Plaintiff,
V.

CABOODLES COSMETICS, LIMITED
PARTNERSHIP, a Nevada limited
partnership, HSS, LIMITED
PARTNERSHIP, a Nevada limited

partnership, ANDREW MANN, and PETER

HENNING,

Counter-Defendants.

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W.D. OF Ti\i, MEN'»PH!S

NO: 05-2179-DP

 

ORDER ADMITTING COUNSEL PRO HAC VICE

 

Upon Robert L. Crawford’$ Motion for Admission Pro Hac Vi`ce of Meghan M. Hubbard

filed herein,

IT IS ORDERED, ADIUDGED AND DECREED by the Court that:

Meghan M. Hubbard, a member in good Standing of the bar of the State of lllinois and

the United States District Court for the Northem District of Illinois, is hereby admitted pro hac

vice in this action pursuant to Local Rule 83.1(._
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ENTERED THIS$/ day Of m%

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 18 in
case 2:05-CV-02179 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

